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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


VICTORIA WILCOX,

      Plaintiff,

v.                                                    Case No: 6:23-cv-2339-JSS-RMN

TARGET CORPORATION,

      Defendant.
___________________________________/

                                        ORDER

      Plaintiff Victoria Wilcox filed a Notice of Voluntary Dismissal with Prejudice

seeking to dismiss this action with prejudice as to her individual claims and without

prejudice as to the claims of the proposed putative class. (Dkt. 26.) Upon review of

the docket, Defendant has not filed an answer or motion for summary judgment in

this matter. See Fed. R. Civ. P. 41(a)(1)(A)(i); PTA-FLA, Inc. v. ZTE USA, Inc., 844

F.3d 1299, 1307 (11th Cir. 2016) (“According to the plain text of Rule 41(a)(1)(A)(i),

only the filing of an answer or a motion for summary judgment terminates a plaintiff’s

ability to voluntarily dismiss its claims without a court order.”). Moreover, a class has

not been certified in this action, nor has Plaintiff moved to certify a proposed class for

purposes of settlement. See Fed. R. Civ. P. 23(e).

      Accordingly, this action is DISMISSED with prejudice as to Plaintiff’s

individual claims and DISMISSED without prejudice as to the claims of the proposed

class. The parties shall bear their own costs, expenses, and fees. Any pending motions
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are denied as moot. The Clerk of Court is directed to terminate any pending deadlines

and thereafter close this case.

      ORDERED in Orlando, Florida, on July 16, 2024.




Copies furnished to:
Counsel of Record




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